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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 IN RE: MOVEit CUSTOMER DATA                    MDL No. 3083
 SECURITY BREACH LITIGATION,                    Civil Action No. 1:23-md-03083-ADB

                                                Judge Allison D. Burroughs

 This document relates to:

 MYKLE JACOBS, individually and on behalf Civil Action No. 1:23-cv-13021-ADB
 of himself and all others similarly situated,

               Plaintiff,

 v.

 ERNST & YOUNG INVESTMENT
 ADVISERS LLP and BANK OF AMERICA
 CORPORATION,

               Defendants.

                               NOTICE OF APPEARANCE

TO:    THE CLERK OF COURT AND ALL PARTIES OF RECORD

       Kindly enter the appearance of the undersigned counsel, Sean W. Gallagher, on behalf of

Defendant Ernst & Young Investment Advisers LLP in the above-captioned matter.

Date: December 19, 2023                            Respectfully submitted,

                                                   /s/ Sean W. Gallagher
                                                   Sean W. Gallagher

                                                   BARTLIT BECK LLP
                                                   54 W. Hubbard Street, Suite 300
                                                   Chicago, Illinois 60654
                                                   T: 312-494-4400
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                                                   Attorney for Defendant Ernst & Young
                                                   Investment Advisers LLP
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                                 CERTIFICATE OF SERVICE

       I, Sean W. Gallagher, hereby certify that on December 19, 2023 a true copy of the

foregoing document filed through the ECF system will be electronically sent to the registered

participants as identified on the Notice of Electronic Filing and paper copies will be sent to those

indicated as non-registered participants.



                                                      /s/ Sean W. Gallagher
                                                      Sean W. Gallagher
